                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

IN RE:                                                       Case No. 11-55616

KENNETH WALTER SCICLUNA,                                     Chapter 7

            Debtor.                                          Judge Thomas J. Tucker
______________________________/

            MEMORANDUM REGARDING ATTORNEY FEE APPLICATION
                   AND CERTIFICATION OF NO RESPONSE

         On November 22, 2011, the Attorney for Trustee filed a fee application (Docket # 33).

The Applicant’s 21-day notice of this fee application was served by mail on the appropriate

parties on November 22, 2011. The Applicant filed a Certification of No Response on December

16, 2011, indicating that no one had objected to the fee application.

         The Certification of No Response was filed prematurely, because the time for filing

objections had not yet expired. The deadline for objections is December 16, 2011. This

deadline is determined by first adding 21 days to the date of service of the 21-day notice, plus 3

days. The three days is added under Fed.R.Bankr.P. 9006(f), whether the 21-day notice was

served by mail or electronically through the Court’s CM/ECF system. In the case of parties

served only electronically with the 21-day notice, through the Court's CM/ECF system, the

Court’s ECF Administrative Procedures state that three days is still added in calculating the

objection deadline. See ECF Procedure 12(f)(available on the Court's website at

http://www.mieb.uscourts.gov/cmecfInfo/ECFAdminProc.pdf). Then, if the 24th day after

service falls on a Saturday, Sunday, or a Legal Holiday, the objection deadline is the next day

which is not a Saturday, Sunday, or Legal Holiday. See Rule 9006(a)(1)(c), Fed.R.Bankr.P.; and

L.B.R. 9014-1(c)(E.D.M.).




   11-55616-tjt     Doc 37     Filed 12/16/11     Entered 12/16/11 14:22:10        Page 1 of 2
       The Court will not act on the Applicant’s fee application until the Applicant files a new

Certification of No Response that is based upon the correct objection deadline.


                                                .


Signed on December 16, 2011




                                                2



   11-55616-tjt    Doc 37     Filed 12/16/11     Entered 12/16/11 14:22:10        Page 2 of 2
